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 5 Attorneys for Guo Ma

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 8                                     IN THE UNITED STATES DISTRICT COURT

 9                                         EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                      CASE NO. 2:14 –CR-00330-1-GEB
12                                          Plaintiff,              STIPULATION REGARDING
                                                                    AMENDING PRETRIAL RELEASE
13   v.                                                             CONDITIONS ; [PROPOSED]
                                                                    ORDER
14   GUO MA,
15                                          Defendant.              Honorable Judge Allison Claire
16

17             Defendant Guo Ma, by and through Linda M. Parisi, his counsel of record, and plaintiff, by

18 and through its counsel, Christiaan Highsmith, hereby stipulate as follows:

19             1.         All counsel and Mr. Ma, along with the Pretrial Services Agency/Officer, agrees to

20 the additional term and condition for continued Pretrial Release, as follows:

21             Mr. Ma is scheduled to surrender at Bureau of Prison Atwater in California on June 10, 2016.

22 The defendant is flying from Oregon (where he currently resides) on June 9, 2016, on a flight

23 leaving at 12:20pm. The defendant is requesting he be allowed to report to Pretrial Services in

24 Oregon no later than 9:30am on June 9, 2016, to have his location monitoring equipment removed in

25 order to board the flight and fly to Sacramento.                    The defendant will then stay at a hotel in

26 Sacramento and be transported by car to Atwater to surrender. It should be noted, that the defendant

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          Stipulation and [Proposed] Order for Continuance of
          Status Hearing and for Exclusion of Time
                Case 2:14-cr-00330-TLN Document 80 Filed 06/08/16 Page 2 of 4



 1 will not be monitored by location monitoring from 9:30am on June 9, 2016, until his surrender on

 2 June 10, 2016. In addition, Pretrial Services has confirmed the flight and overnight stay information.

 3

 4 Dated: June 7, 2016

 5                                                               Respectfully Submitted,

 6                                                               /s/ Linda M. Parisi by e-mail authorization
                                                                 ______________________________________
 7
                                                                 Linda M. Parisi
 8                                                               Attorney for Guo Ma

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10 Dated: June 7, 2016                                           BENJAMIN B. WAGNER
                                                                 United States Attorney
11

12                                                             /s/ Linda M. Parisi by e-mail authorization
                                                               _______________________________________
13                                                           Christiaan Highsmith, Assistant U.S. Attorney
                                                                  Attorney for Plaintiff
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       Stipulation and [Proposed] Order for Continuance of
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                   Case 2:14-cr-00330-TLN Document 80 Filed 06/08/16 Page 3 of 4


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 7                                     IN THE UNITED STATES DISTRICT COURT
 8                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10    UNITED STATES OF AMERICA
                                                                       Case No. 2:14 –CR-00330-GEB-1
11                                    Plaintiff,
                                                                         [PROPOSED] ORDER
12          v.
13
      GUO MA
14                                Defendant,
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                 Based on the reasons set forth in the stipulation of the parties filed on June 7, 2016, and good
17

18 cause appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT IS

19 HEREBY ORDERED that the Pretrial Release Conditions be amended to include Defendant will

20 report to Pretrial Services in Oregon no later than 9:30am on June 9, 2016, to have his location

21 monitoring equipment removed in order to board the flight and fly to Sacramento. The defendant

22
     will then stay at a hotel in Sacramento and be transported by car to Atwater to surrender.
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     //
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          Stipulation and [Proposed] Order for Continuance of
          Status Hearing and for Exclusion of Time
                 Case 2:14-cr-00330-TLN Document 80 Filed 06/08/16 Page 4 of 4


     It should be noted, that the defendant will not be monitored by location monitoring from 9:30am on
 1
     June 9, 2016, until his surrender on June 10, 2016. All other conditions remain in effect.
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 4 Dated: June 8, 2016

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        Stipulation and [Proposed] Order for Continuance of
        Status Hearing and for Exclusion of Time
